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UNITED STATES DISTRICT COURT ay

 

CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,

Plaintiff,

Vv. Case No. 00-CR-01220 SVW

GLEN OWENS,

Defendant.

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MOTION FOR REDUCTION IN TERM OF IMPRISONMENT
PURSUANT TO 18 U.S.C. § 3582(c) (2)

Comes Now, Glen Owens, defendant in the above captioned case, and
would respectfully request this Court reduce his term of imprisonment
pursuant to 18 U.S.C. § 3582(c)(2). This he says in support thereof:

Defendant was sentenced to a term of 130 months imprisonment after
pleading guilty to possession of crack cocaine with intent to distribute,
in violation of 21 U.S.C. § 841(a). Defendant was sentenced at the bottom
of a 130-162 month guideline range calculated under the crack guidelines
in effect at the time of his conviction.

Effective November 1, 2007, U.S.S.G. § 2D1.1 was amended. The effect
of this amendment was to lower Base Offense Levels for crack cocaine by
2 points. On December 11, 2007, the U.S. Sentencing Commission voted to
make this amendment retroactive. The effective date of this retroactive
decision was March 3, 2008. Thus, the guidelines specifically provide that
the crack cocaine amendment should apply retroactively to determine
"whether, and to what extent, a reduction in sentence is warranted" on a
motion under Section 3582(c). U.S.S.G. § 1B1.10(a); United States v.
Sprague, 135 F.3d 1301 (9th Cir. 1998), quoting United States v. Innie, 77
F.3d 1207, 1209 (9th Cir. 1996).

A recalculation of defendant's offense level under the newly amended
guidelines would provide a lower range of 100-137 months. This Defendant's
projected release date is currently July 18, 2010. A reduction in sentence
under the new guidelines could enable this defendant to be considered for
release in November of 2008 if this Court would resentence him at the
bottom of the amended guidelines.
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Defendant respectfully submits this Court may consider reducing his
term of imprisonment under the provisions of 18 U.S.C. § 3582(c) (2),
modification of an imposed term of imprisonment, wherein the statute
states, “in the case of a defendant who has been sentenced to a term of
imprisonment based on a sentencing range that has subsequently been lowered
by the Sentencing Commission pursuant to 28 U.S.C. 994(0), upon motion of
the defendant or the Director of the Bureau of Prisons, or on its own
motion, the court may reduce the term of imprisonment, after considering
the factors set forth in section 3553(a) to the extent that they are
applicable, if such a reduction is consistent with applicable policy
statements issued by the Sentencing Commission."

Wherefore, defendant prays this Court will reduce his sentence to a
term of imprisonment at the bottom of the. amended guideline range of
100-137 months.

Dated this 3lst day of March, 2008.

Respectfully Submitted,

GLEN OWENS
Defendant Pro Se

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing MOTION
FOR REDUCTION IN TERM OF IMPRISONMENT PURSUANT TO 18 U.S.C. § 3582(c) (2)
has been duly served on the Office of the United States Attorney for the
Central District of California by placing same in an envelope, postage
prepaid, in the U.S. Mail depository at FCI VICTORVILLE 1, addressed as
follows:

OFFICE OF THE U.S. ATTORNEY
FOR THE CENTRAL DISTRICT OF CALIFORNIA
312 NORTH SPRING STREET.
LOS ANGELES, CALIFORNIA 90012

Respectfully,

Pb Orr

GLEN OWENS
Affiant
